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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 In re:                                           §
                                                  §
                                                                 Chapter 11
 HIGHLAND CAPITAL                                 §
 MANAGEMENT, L.P.,                                §
                                                          Case No. 19-34054-sgj11
                                                  §
          Debtor.                                 §
                                                  §
 HIGHLAND CAPITAL                                 §
 MANAGEMENT, L.P.,                                §
                                                        Civ. Act. No. 3:21-cv-00881-X
                                                  §
          Plaintiff,                              §
                                                  §
 v.                                               §
                                                    (Consolidated with 3:21-cv-00880-
                                                  §
                                                    X; 3:21-cv-01010-X; 3:21-cv-01360-X;
 NEXPOINT ASSET                                   §
                                                     3:21-cv-01362-X; 3:21-cv-01378-X;
 MANAGEMENT, L.P. (F/K/A                          §
                                                     3:21-cv-01379-X; 3:21-cv-03207-X;
 HIGHLAND CAPITAL                                 §
                                                               3:22-cv-0789-X)
 MANAGEMENT FUND ADVISORS,                        §
 L.P.), et al.,                                   §
                                                  §
          Defendants.

ORDER GRANTING JOINT AGREED EMERGENCY MOTION FOR ORDER
 APPROVING STIPULATION FOR THE BONDING OF JUDGMENTS AND
          STAYS OF EXECUTIONS PENDING APPEALS

        Upon consideration of the Parties’ Joint Agreed Emergency Motion for Order

Approving Stipulation for the Bonding of Judgments and Stays of Execution Pending

Appeals (the “Motion”),1 the Court hereby finds that the Motion should be GRANTED

as set forth below. Accordingly,

        IT IS HEREBY ORDERED that:

        1.       The Motion is GRANTED in its entirety.


       1 Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Motion.


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        2.       The Parties’ entry into the Binding Bonding Agreement, a copy of which

is attached hereto as Exhibit A, is hereby APPROVED.

        3.       The Parties are directed to comply with each and every term of the

Binding Bonding Agreement.

        4.       The deposit of any amounts required by the Binding Bonding Agreement

into the Court Registry will be done in each case in accordance with Miscellaneous

Order No. 45, entered by the U.S. District Court of the Northern District of Texas on

October 7, 1997 (the “Misc. Order”). For the avoidance of doubt, this Order shall

constitute the Court’s express order authorizing the deposit or transfer of funds into

the Court Registry as required by the terms of the Misc. Order, and the Clerk of Court

shall accept this Order as the requisite order of the Court permitting the deposit or

transfer of funds into the Court Registry.

        5.       This Court shall have and retain jurisdiction over all disputes arising

out of or otherwise concerning the interpretation and enforcement of this Order.

        IT IS SO ORDERED this 3rd day of August, 2023.



                                         ___
                                         THE HONORABLE BRANTLEY STARR
                                         UNITED STATES DISTRICT COURT JUDGE




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      EXHIBIT A
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